Case 2:03-cr-20476-SH|\/| Document 137 Filed 07/14/05 Page 1 of 2 Pa e|D 170

HmEJBY ___ac.
rN THE UNITED sTATEs nrsTchT coURT
FoR TH:E: wEsTERN DISTRICT oF TENNEsm-;]UL |l, AH||: Ol,

wEsTERN D:cvrsIoN
n IPD!MSHM. GOU.D

w@ OP ‘:`_r z»_-'§;E:*&P?~:ls

 

UNITED STATES OF AMERICA,
Plaintiff,
Vs. CR. NO. 03-20476-Ma

'I‘OMMIE BROWN, JR. ,

\._/~_»-_._¢~_¢~._¢V~_,~_J`,¢

Defendant.

 

ORDER ON CONTINU.ANCE AND SPECIFYING PER.IOD OF EXCLUDABLE DELA`Y

 

This cause came on for a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

b
:l:T rs so QRDERF..D this l day of July, 2005.

J///»w,`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

mwmmmwmmmmwmmwwmommw
with Ru|e 55 andjor 32{£)} FFiCrP on lig_"_o_§ 59

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 137 in
case 2:03-CR-20476 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

T. Cliftcn Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

i\/lemphis7 TN 38103

Honcrable Sarnuel Mays
US DISTRICT COURT

